           Case 2:13-md-02437-MMB Document 728 Filed 05/02/18 Page 1 of 1



 l 622 LOCUST STREET   I   PHILADELPHIA, PA 19103-6305   I   PHONE: 215/875-3000   I   FAX: 215/875-4604   I   www.bergermontague.com



 Berger&~Montague,P.C.
               '              j;,



                                                                                       H. LADDIE MONTAGUE, JR.

                                                                                          WRITER'S DIRECT DIAL     215/875-3010

                                                                                           WRITER'S DIRECT FAX     215/875-4671

                                                                                        WRITER'S DIRECT E-MAIL     hlmontague@bm.net



                                                   May 2, 2018

VIA ECF & HAND DELIVERY

The Honorable Michael M. Baylson
United States District Court
Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106

         Re:       In re Domestic Drywall Antitrust Litigation
                   13-MD-2437, MDL No. 2437

Dear Judge Baylson:

         This is to advise you that we have reached a resolution with LEX Group and are in
negotiations with FRS. Accordingly, we ask that your Honor defer any action as outlined in my
letters of April 17 and April 30, 2018.

         We will keep your Honor informed of the outcome.

                                                               Respectfully submitted,



                                                               H. Laddie Montague, Jr.
HLM, Jr./sll

cc:      All Counsel of Record (via ECF)
         Dean Eyler, Esquire (via email)
         Eric Kanefsky, Esquire (via email)
         Jeffrey Leibell, Esquire (via email)
